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IN THE UNITED sTATEs DIsTRIcT coURT
FoR THE WESTERN DIsTRIcT oF TENNESSEE 05AU319 H \*’ 33
WESTERN DIvIsIoN

LUTRICIA BARNETT BUCKLEY, as
Administratrix of the Estate
of DENVEY BUCKLEY, for the use
and benefit of KATRINA and
LATRICE BUCKLEY, as Next of
Kin and Heirs at law of DENVEY
BUCKLEY, deceased,

Plaintiff,
v.

CITY OF MEMPHIS, THE CITY OF
MEMPHIS POLICE DIVISION,
OFFICER PHILLIP PENNY, OFFICER
KURTIS SCHILK, and OFFICER
ROBERT T. TEBBETTS,
individually and in their
Representative Capacities as
City of Memphis Police
Division Officersl

Defendants.

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ORDER GRANTING PLAINTIFF’S MOTION REQUESTING THE COURT TO
AUTHORIZE ISSUANCE OF A SUBPOENA DUCES TECUM FOR KURTIS SCHILK’S
U.S. ARMY AND NATIONAL GUARD PERSONNEL RECORDS

 

Before the court is Plaintiff Lutricia Barnett Buckley’S

Motion Requesting the Court to Authorize Issuance of a Subpoena

Duces Tecum for Kurtis Schilk's U.S. Army and. National Guard

Personnel Records, filed on June 15, 2005 (dkt #161). Defendant

Kurtis Schilk responded on June 22, 2005. For the followin

  

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w|th Rule 58 and/or 79(a) FHCP on

  

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reasons, the Plaintiff’s motion is GRANTED.
I . BACKGROUN'D

Plaintiff Lutricia Barnett Buckley (“Plaintiff”) is the ex-
wife of the decedent, Denvey Buckley (“Buckley”) and custodial
parent of Katrina Buckley and Nicole Buckley, minors, the natural
children and alleged sole heirs at law of Buckley. Plaintiff
alleges that defendant Memphis Police Department (“MPD”) officers,
including Officer Schilk, used excessive force while seizing
Buckley in an altercation that resulted in his death. She also
alleges that the City has a policy or practice of failing to
supervise, discipline, and train its police officers, which
violated Buckley's constitutional rights.

Plaintiff's present motion serves as a means to obtain
Schilk's Army and National Guard records. She claims these
military records are relevant for two purposes. First, she argues
that at his deposition, Officer Schilk testified that he had never
been written up for a disciplinary infraction, nor the subject of
any administrative investigations involving an altercation with
civilians or with a fellow soldier. Plaintiff contends that the
records may reveal evidence that could be used to challenge Officer
Schilk’s credibility on these points. Second, Plaintiff asserts
that the records might be relevant to show that Officer Schilk has
a habit of losing his temper or of violent behavior when provoked.

Such evidence, she argues, would be admissible under Federal Rule

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of Evidence 406.

In response, Officer Schilk contends that the records are not
relevant, nor reasonably calculated to lead to the discovery of
admissible evidence. He asserts that any information in the
military records could not be admitted as habit evidence at trial.
In addition, he claims that his ndlitary record would not be
admissible because the prejudice of any evidence that might be
found in his military record of prior bad acts would outweigh its
probative value. As to the issue of credibility, Officer Schilk
maintains that these records would. be inadmissible extrinsic
evidence under Fed. R. Evid. 608.

II. ANALYSIS

“Parties may’ obtain discovery regarding any matter, not
privileged, that is relevant to the claim or defense of any party

.” Fed. R. Civ. P. 26(b)(1). “Relevant information need not
be admissible at trial if the discovery appears reasonably
calculated to lead to the discovery of admissible evidence.” ld¢

The court concludes that discovery relating to Officer
Schilk’s military record is reasonably calculated to lead to the
ldiscovery of admissible evidence, for the reasons stated by
the plaintiff. Defendant's objections are based primarily on the

admissibility of this evidence at trial. However, the eventual

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inadmissibility of evidence at trial does not preclude discovery of
this information, so long as it appears reasonably calculated to
lead to the discovery of admissible evidence. Moreover, regarding
the potential impeachment purposes of the military records, the
plaintiff may obtain discovery of this material even if the records
themselves are not admissible. See Varqa v. Rockwell Int’l Corp.,
242 F.3d 693, 697 (Gth Cir. 2001)(holding that impeachment
materials are not excluded from discovery under the Federal Rules);
see also Karr v. Four Seasons Maritime, Ltd., No. 02~3413, 2004 WL
797728, at *1-2 (E.D. La. April 12, 2004); Ward V. CSX TranSD..
lgg;, 161 F.R.D. 38, 39 (E.D.N.C. 1995).
III. CONCLUSION

For the reasons above, the Motion Requesting the Court to
Authorize Issuance of a Subpoena Duces Tecum for Kurtis Schilk's
U.S. Army and National Guard Personnel Records is GRANTED.

Plaintiff may attach this order to the subpoena for defendant
Schilk's military records.

IT IS SO ORDERED.

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TU M. PHAM
United States Magistrate Judge

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Date U `

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Notice of Distribution

This notice confirms a copy ot` the document docketed as number 191 in
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Honorable Bernice Donald
US DISTRICT COURT

